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                                               Certificate Number: 06531-TXE-CC-037656160


                                                              06531-TXE-CC-037656160




                    CERTIFICATE OF COUNSELING

I CERTIFY that on August 7, 2023, at 3:14 o'clock PM CDT, Mark E Lynch Sr
received from Allen Credit and Debt Counseling Agency, an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the Eastern District of
Texas, an individual [or group] briefing that complied with the provisions of 11
U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   August 7, 2023                         By:      /s/Luis Gonzalez Guillen


                                               Name: Luis Gonzalez Guillen


                                               Title:   Certified Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
